Case 0:19-cv-63059-AHS Document 18 Entered on FLSD Docket 03/10/2020 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA


   PATRICIA KENNEDY, Individually,                           :
                                                             : Case No.: 19-cv-63059-RNS
                  Plaintiffs,                                :
   v.                                                        :
                                                             :
   TOWN CENTER HOTEL ASSOCIATES, LLC,                        :
   d/b/a Suburban Extended Stay,                             :
                Defendant.                                   :
   _____________________________________                     :
                                                             :

                           PLAINTIFF’S NOTICE OF SETTLEMENT

         Plaintiff, by and through undersigned counsel, hereby notifies the Court that the parties
  have fully resolved all outstanding issues and are in the process of exchanging the fully executed
  settlement documents. The parties anticipate this process will be complete within 30 days and a
  stipulation for dismissal without prejudice will be filed within that time frame. Plaintiff requests
  that all pending motions be denied as moot, and that the Court grant the parties 30 days to file the
  stipulation of dismissal with prejudice. The parties further request that this Court retain
  jurisdiction to enforce the settlement agreement between the parties.

                                                        Respectfully submitted March 10, 2020,

                                                        Thomas B. Bacon, Esq.
                                                        Thomas B. Bacon, P.A.
                                                        644 N. McDonald Street
                                                        Mt. Dora, FL 32757
                                                        ph. (954) 478-7811
                                                        tbb@thomasbaconlaw.com

                                                        /s/ Theresa B. Edwards
                                                          Theresa B. Edwards
                                                          American Justice, P.A.
                                                          412 NE 4th Street
                                                          Ft. Lauderdale, FL 33301
                                                          (954) 592-0546
                                                          Theresa@americanjusticepa.com
